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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                                   §
                                                            §
        Plaintiff,                                          §
                                                            §
v.                                                          §
                                                            §       CIVIL ACTION NO. 3:19-cv-00764-L
LESLIE A. WULF, BRUCE A. HALL,                              §
JAMES REA, JOHN E. REA, and KEITH                           §
DRIVER                                                      §
                                                            §
        Defendant.                                          §

        REPLY IN SUPPORT OF KEITH DRIVER’S 12(b)(6) MOTION TO DISMISS

          Defendant, Keith Driver (“Driver”), files his Reply to Plaintiff VeroBlue Farms USA, Inc.’s

 (“Plaintiff” or “VeroBlue”) Response and Brief in Support to Defendant Keith Driver’s 12(b)(6)

 Motion to Dismiss (the “Response”).1

                                   ARGUMENTS AND AUTHORITIES

 A.       Plaintiff’s Claims Clearly Fall Within the Scope of the Release Agreement.

          At no time in the year that Plaintiff has been prosecuting its claims against Driver has

 Plaintiff denied the existence of the Release Agreement that releases all claims of any nature,

 known or any known, against Driver. As demonstrated below, that all-encompassing Release

 Agreement covers each and every of the claims currently in Plaintiff’s live pleading, but also the

 new claims raised by the Second Amended Complaint which Plaintiff seeks leave to file.

          However, in an effort to circumvent the clearly valid and enforceable Release Agreement

 executed by both Driver and Plaintiff, Plaintiff relies on insufficiently pled accusations and

 outright misrepresentations to the Court regarding the scope of the Release Agreement and how it


 1
   All undefined capitalized terms used herein shall have the meaning as set out in the Resistance or Driver’s Motion
 to Dismiss [Dkt. Nos. 67-69].


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was procured. Despite these efforts, it is clear that Plaintiff’s claims fall directly within the scope

of the Release Agreement, which should result in all of Plaintiff’s claims against Driver being

dismissed.

        Plaintiff alleges that the Release Agreement “speaks specifically only to the ’Egregious

Clause Claims‘” and argues that this definition does not include fraud, breach of fiduciary duty, or

conspiracy. [Dkt. No. 103, p. 22]. However, the Release Agreement in actuality states that Plaintiff

releases Driver from all “VBF Releasee Claims,” which is defined as:

        any and all charges, complaints, claims, liabilities, obligations, promises,
        agreements, controversies, damages, actions, causes of action, suits, rights,
        demands, costs, losses, debts and expenses (including attorneys’ fees and costs
        actually incurred), of any nature whatsoever, known or known … which VBF
        Releasees now have, own, hold or to which the VBF Releasees at anytime
        heretofore had, owned, or held against each of the Driver Releasers, including
        without limitation, the Egregious Clause Claims.

(App. 0052) (emphasis added).2 With this broad language, the parties clearly agreed to release all

claims, including fraud, breach of fiduciary duty, and conspiracy, not carve them out as argued by

Plaintiff. Further, it is clear that this Release Agreement — which Plaintiff drafted — included all

actions, known or unknown, Driver took as an employee of Plaintiff. The recitations alone show this

by stating that “VBF USA has claims against Driver that he has breached the Employment Agreement

because, among other things … Driver has engaged in other business interests and engagements outside

of VBF USA (the “Egregious Cause Claims”).” (App. 0049). If Plaintiff wished to retain the right to

sue for any unknown claims that it discovered after execution, including fraud, breach of fiduciary

duty, and conspiracy, it could have carved those claims out of the Release Agreement. This is

especially true because: (1) Plaintiff has specifically plead that it was suspicious of Driver in 2017; and




2
 All references to an Appendix (App. ___) refer the Court to Driver’s Appendix to Brief in Support of Rule 12(b)(6)
Motion to Dismiss [Dkt. No. 69].


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(2) the Release Agreement’s recitations show that Plaintiff believed it had current causes of actions

against Driver.

          While Plaintiff now alleges that “[Plaintiff] did not learn of the fraudulent concealment,

fraudulent misrepresentation, misappropriations or other misconduct by Driver until at least March

2018,” this statement is belied by Plaintiff’s prior pleadings. [Dkt. No., p. 20]. Specifically,

Plaintiff alleges in its Resistance to Defendant’s Motion to Dismiss filed in Iowa that “[b]y 2017,

non-Defendant VBF directors became suspicious of Defendants and VBF fired Defendants. VBF

terminated Driver on January 13, 2017….” [Dkt. No. 25, p. 4] (the “Resistance”). Thus, Plaintiff

admitted that it executed the Release Agreement with some level of knowledge regarding Driver’s

alleged bad acts, which means Plaintiff knew it could have drafted the agreement to exclude certain

claims.

          Further, Plaintiff alleges in the Complaint that the other “Founders,” which includes

Defendants Wulf, Hall, James Rea, and Ted Rea, participated with or directed Driver’s activities.

[Dkt. No. 102-8, ¶ 18-229]. Since the other “Founders,” who included the CEO of VeroBlue at the

time, knew of these activities, Plaintiff is also charged with their knowledge. Plaintiff is attempting

to artfully plead around the fact that Plaintiff — through the CEO and other officers/directors at

the time — knew everything Driver did prior to the Release Agreement by arguing that the current

control persons of Plaintiff did not know at that time, even though every other director and officer

knew at the time. The current control persons are not suing on behalf of themselves, only on behalf

of Plaintiff. And by Plaintiff’s own pleading, they admit that the other officers and directors knew

about Driver’s actions at the time of the Release Agreement. Thus, Plaintiff’s attempt to plead

lack of knowledge is negated by its own pleading.




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           Finally, the Chief Judge of the District Court for the Northern District of Iowa not only

rejected the argument that Plaintiff’s claims were not covered by the Release Agreement, but made

the following findings in his Order:

                   “Any claims that could arise under the Employment Agreements implicate
                    the Termination Agreements.” [Dkt. No. 50, p. 9].

                   “Based on the alleged facts, I find that Plaintiff’s claims arise under the
                    Termination Agreements…” [Dkt. No. 50, p. 10].3

Plaintiff, with coaching from the Iowa Northern District’s Order, is now trying to revise history to

avoid enforcement of the Release Agreement. However, Plaintiff’s claims fall directly within the

scope of the Release Agreement. Therefore, Plaintiff’s claims should be dismissed.

B.         Plaintiff Pled Insufficient Facts that the Release Agreement Was Entered into
           Fraudulently.

           Plaintiff’s First Amended and Second Amended Complaint fail to allege any claim not

barred by the Release Agreement because Plaintiff does not provide sufficient pled facts of: (1)

any material misrepresentations or non-disclosures in the negotiations of the Release Agreement;

and (2) any reliance by Plaintiff on any alleged material misrepresentation or non-disclosure in the

negotiations of the Release Agreement. Instead, Plaintiff attempts to artfully plead around these

requirements by providing vague and conclusory allegations of lack of knowledge of potential


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    The Chief Judge of the Northern District of Iowa made other significant findings in his Order, including:

               “The amended complaint contains no reference to the Termination Agreements.” [Dkt. No. 50,
                p. 12].

               “Plaintiff’s allegations of fraud in its amended complaint do not extend to the creation and
                execution of the Termination Agreements.” [Dkt. No. 50, p. 13].

               “The Parties appeared to have relatively the same experience and sophistication in negotiating
                the Termination Agreements and each were represented by counsel.” [Dkt. No. 50, p. 13, n. 3].

               “Plaintiff has not set forth any facts to suggest that discovery would reveal the forum-selection
                clauses or Termination Agreements were fraudulently procured. Nor has it sought to rescind
                those agreements based on fraud.” [Dkt. No. 50, p. 13, n. 4].



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claims that allegedly occurred many months prior to the Release Agreement being entered into,

which are insufficient to support a claim that the Release Agreement was procured by fraud.

       As with the Amended Complaint [Dkt. No. 9], the factual allegations in the Second

Amended Complaint are simply not pled with the particularity required in a complaint alleging

multiple counts of fraud against numerous defendants. Rule 9(b) “prevents nuisance suits and the

filing of baseless claims as a pretext to gain access to a ‘fishing expedition.’” United States ex rel.

Grubbs v. Kanneganti, 565 F.3d 180, 191 (5th Cir. 2009). The goals of Rule 9(b) are to “provide[]

defendants with fair notice of the plaintiffs’ claims, protect[] defendants from harm to their

reputation and goodwill, reduce[] the number of strike suits, and prevent[] plaintiffs from filing

baseless claims then attempting to discover unknown wrongs.” Grubbs, 565 F.3d at 190 (citing

Melder v. Morris, 27 F.3d 1097, 1100 (5th Cir. 1994)). A plaintiff pleading fraud must “specify

the statements contended to be fraudulent, identify the speaker, state when and where the

statements were made, and explain why the statements were fraudulent.” Herrmann Holdings Ltd.

v. Lucent Techs. Inc., 302 F.3d 552, 564– 65 (5th Cir. 2002); United States, ex rel. Thompson v.

Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir. 1997) (Rule 9(b)’s particularity

requirement generally means, “at a minimum . . . that a plaintiff set forth the ‘who, what, when,

where, and how’ of the alleged fraud.”). Failure to comply with Rule 9(b)’s requirements

authorizes the Court to dismiss the pleadings as it would for failure to state a claim under Rule

12(b)(6). United States ex rel. Williams v. McKesson Corp., 2014 WL 3353247, at *3 (N.D. Tex.

July 9, 2014) (citing Lovelace v. Software Spectrum, Inc., 78 F.3d 1015, 1017 (5th Cir. 1996)).

       In this case, the First and Second Amended Complaints fail to satisfy the Fifth Circuit’s

stringent pleading standards for claims of fraud, including that the Release Agreement was

procured by fraud. Plaintiff fails to identify the “circumstances” of the alleged fraudulent




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concealment, misrepresentations, constructive fraud, and conspiracy to commit fraud. Herrmann

Holdings Ltd., 302 F.3d at 564-65. Specifically, Plaintiff states that Driver’s “direct

misrepresentations related to VBF’s technology and finances and concealment of the

misappropriation of tens of millions of dollars from VBF constitute fraud on VBF” and that “VBF

did not have knowledge of these misrepresentations and omissions prior to signing the Driver

Agreement.” [Dkt. 103, p. 28]. The only other “nondisclosure” Plaintiff relies on to allege fraud

related to the Release Agreement is Jackson Walker’s alleged representation of both parties, which

Driver will show is an outright falsity. [Dkt. 103, p. 28].

       First, Plaintiff‘s allegation that it had no knowledge of these misrepresentations and

omissions prior to signing the Release Agreement directly contradicts Plaintiff’s allegations in

both the First and Second Amended Pleading. As admitted by Plaintiff, at the time of the Release

Agreement, Driver and the other Defendants comprised VeroBlue Farms USA, LLC’s corporate

suite and board of directors. Plaintiff also alleges that Driver and the other Defendants conspired

together to conduct the complained of fraud. Accordingly, Plaintiff’s own pleadings allege that the

persons in control of VeroBlue Farms USA, LLC as of January 13, 2017, were completely aware

of Driver’s alleged bad acts and entered into the Release Agreement with such knowledge.

Therefore, there can be no fraudulent inducement or fraud in the procurement of the Release

Agreement when Plaintiff is alleging that it in fact knew about all of the alleged bad acts at the

time it executed the Release Agreement. What is unclear is who specifically Plaintiff is now

alleging that Driver should have informed of the alleged misrepresentations and omissions, since

the entire board (or at least a majority of it) allegedly knew of the information at the time of the

Release Agreement.




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           Second, the Release Agreement was created in order to terminate Driver’s Employment

Agreement and separate Driver from Plaintiff due to Plaintiff being suspicious of certain breaches

of Driver’s Employment Agreement. Plaintiff has not plead any facts showing how the

misrepresentations and omissions it alleges “induced” Plaintiff into terminating Driver via the

Release Agreement. Nor would it make sense that Driver had to do so as part of a termination

agreement. Plaintiff’s argument is that: (1) prior to the Release Agreement, it had suspicions

about Driver, at best, or the other officers and directors knew about Driver’s activities, at worst;

(2) it decided to terminate Driver and release all claims; and (3) it now complains that it did not

know how bad Driver was until after the Release Agreement was entered into. Plaintiff would

have the Court believe that there was some sort of legal duty on Driver to disclose every potential

“bad act” to one non-Defendant board member (even though all the other board members knew)

prior to obtaining a Release Agreement, otherwise it is voidable. That position has no support in

the law. Even if it were, it appears from the face of Plaintiff’s Complaint that the other officers

and directors of Plaintiff knew about Driver’s actions anyways because they participated in them.

[Dkt. No. 102-8, ¶¶ 18-229]. Under either scenario, Plaintiff’s Complaints (all versions of them)

are not viable under the law.

           Third, the alleged vague “misrepresentations” contained in the Second Amended

Complaint regarding Plaintiff’s technology and finances occurred prior to Driver being an

employee or fiduciary of Plaintiff (which is the sole basis of its non-disclosure claim), and, thus,

cannot be used to support Plaintiff’s claims based on Driver’s employment. [Dkt. No. 102-8, ¶¶

97, 101-02, 117-18, 127, 130, 143-44].4 Moreover, Plaintiff fails to allege that these




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    Driver did not become an employee of Plaintiff until July 1, 2016. (App. 0049).


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misrepresentations were to actual investors of Plaintiff, which is necessary to support its fraud

claims. [Dkt. No. 102-8, ¶¶ 97, 101-02, 117-18, 127, 130, 143-44].

        Finally, Plaintiff’s allegation that Jackson Walker represented both Plaintiff and Driver in

procuring the Release Agreement is demonstrably false and Plaintiff has no evidence to support

this serious accusation. In fact, the First and Second Amended Complaint contain no factual

allegations supporting its contention that Jackson Walker represented both parties in relation to the

Release Agreement. Instead, Plaintiff only offers the Court a bare, unsupported, and conclusory

statement that "Jackson Walker essentially represented both parties to Driver’s Termination

Agreement.” [Dkt. No. 103, p. 31]. Contrary to Plaintiff’s baseless allegations, Driver was not

represented by Jackson Walker at any time while negotiating or executing the Release Agreement.

Driver was represented by Jay Wallace, an employment attorney at the same law firm currently

representing Driver in this matter, Bell Nunnally & Martin LLP.5 The negotiations included

multiple drafts and months of negotiating different terms and language, all of which Mr. Wallace

provided Driver legal advice and guidance on. Accordingly, Plaintiff’s argument that the Release

Agreement is invalid or unconscionable due to Jackson Walker’s role in the transaction is entirely

meritless.

        Plaintiff’s ability to make such a bold accusation against Driver without any evidentiary

support for the veracity of the claim is significant to the Court’s analysis of Plaintiff’s other claims.

This is especially true given how easily Plaintiff could have learned facts that establish its

allegations regarding Driver’s representation were wrong. Plaintiff has served dozens of subpoenas

in this lawsuit and evidence of Jackson Walker’s non-representation of Driver would have been


5
 Contemporaneously with this Reply, Driver files his Response to Plaintiff’s Motion for Leave to Amend its Amended
Complaint and Appendix thereto. [Dkt. Nos 117-18]. Driver refers the Court to page 0066 of the Appendix to Driver’s
Response to Plaintiff’s Motion for Leave for an affidavit of Jay Wallace regarding his representation of Driver in
negotiations for the Release Agreement.


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evident from the documents in their possession. Moreover, this falsehood calls into question the

reliability of all of the remaining allegations in Plaintiff’s Amended Complaint, including: (1) what

Plaintiff knew at the time it negotiated and executed the Release Agreement; and (2) whether

Driver made any material misrepresentation or nondisclosure. Accordingly, Driver’s Rule 12(b)(6)

Motion to Dismiss should be granted and all claims brought by Plaintiff against Driver should be

dismissed with prejudice.

C.     The Release Agreement Is Valid and Enforceable Because Plaintiff Waived Any
       Claim of Reliance.

       Texas law favors and encourages voluntary settlements and orderly dispute resolution, which

is what occurred between Driver and Plaintiff in January of 2017. Schlumberger Tech. Corp. v.

Swanson, 959 S.W.2d 171, 178 (Tex. 1997). The ability of parties to fully resolve disputes between

them with a release is a compelling concern for courts. Id. Plaintiff argues that the Release Agreement

is void because it was procured by fraud. However, Driver and Plaintiff waived the right to assert fraud

in procuring the Release Agreement.

        Reliance by the party asserting fraud is an element of the defenses of fraudulent

inducement, fraudulent concealment, and fraud by nondisclosure. In re Int’l Profit Assocs., Inc.,

274 S.W.3d 672, 678 (Tex. 2009) (false representation “was intended to be and was relied upon

by the injured party” as element of fraudulent inducement); Wise v. SR Dall., LLC, 436 S.W.3d

402, 409 (Tex. App.—Dallas 2014, no pet.) (“the listener relies on the nondisclosure resulting in

injury” is element of fraud by nondisclosure); Mitchell Energy Corp. v. Bartlett, 958 S.W.2d 430,

439 (Tex. App.—Fort Worth 1997, pet. denied) (“plaintiff’s reasonable reliance on the deception”

is an element of fraudulent concealment).

       In general, a contract is subject to avoidance on the ground of fraudulent inducement.

However, in some situations, the parties can agree in the contract to waive the right to assert fraud



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by expressly disclaiming reliance. See Leibovitz v. Sequoia Real Estate Holdings, L.P., 465 S.W.3d

331, 342 (Tex. App.—Dallas 2015, no pet.); Forest Oil Corp. v. McAllen, 268 S.W.3d 51, 58 (Tex.

2008); Schlumberger Tech. Corp. v. Swanson, 959 S.W.2d 171, 179 (Tex. 1997).

       The factors most relevant to whether there was a waiver of reliance precluding an

affirmative defense of fraud are whether:

           1. the terms of the contract were negotiated, rather than boilerplate, and during
              negotiations the parties specifically discussed the issue which has become
              the topic of the subsequent dispute;

           2. the complaining party was represented by counsel;

           3. the parties dealt with each other in an arm’s length transaction;

           4. the parties were knowledgeable in business matters; and

           5. the release and non-reliance language was clear.

Leibovitz, 465 S.W.3d at 342; Forest Oil Corp., 268 S.W.3d at 60. The court also added a sixth

factor, stating the fact that an agreement is a “once and for all” settlement constitutes an additional

factor for rejecting fraud-based claims. Id. at 58.

          i.   Both Plaintiff and Driver were Represented by Counsel, Negotiated the
               Language, Dealt with Each Other in an Arm’s Length Transaction, and have
               Knowledge in Business Matters.

       The first factor set forth in Forest Oil Corp. for determining whether a disclaimer of

reliance is enforceable is whether “the terms of the contract were negotiated, rather than

boilerplate, and during negotiations the parties specifically discussed the issue which has become

the topic of the subsequent dispute.” Leibovitz, 465 S.W.3d at 342; Forest Oil Corp., 268 S.W.3d

at 60. Under Forest Oil Corp., “the topic of the subsequent dispute” is the specific contract term

being asserted against the party claiming fraud. Id. In this case, the sole purpose of the Release

Agreement was for Plaintiff and Driver to terminate the Employment Agreement, release claims

against each other, and move forward. The recitations show that both Plaintiff and Driver were


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aware that each had potential claims against the other for breaches of the Employment Agreement

and that each wanted resolve the situation by to releasing those claims:




       Thus, it is clear that the parties discussed the issues of the claims between then and both

decided to release all claims, known or unknown, between them. These recitations also make clear

that the Agreement was an arm’s-length transaction. At the time of the Release Agreement,

Plaintiff and Driver were aware of competing claims of breach of the Employment Agreement,

and there were attorneys on all sides. Despite Plaintiff’s allegations regarding Jackson Walker,

Driver was represented by Jay Wallace at Bell Nunnally & Martin LLP in the negotiation of the

Release Agreement, while Plaintiff was admittedly represented by Jackson Walker.

       Moreover, as noted in the Chief Judge from the Northern District of Iowa’s Order

Transferring the Case to the Northern District of Texas “[t]he Parties appeared to have relatively

the same experience and sophistication in negotiating the Termination Agreements and each were

represented by counsel.” [Dkt. 50, p. 13, n. 3]. Plaintiff is not an inexperienced person relying

upon Driver for information; it is a sophisticated business that drafted the Release Agreement with

its own interests in mind. Accordingly, the first four factors establish that the parties waived

reliance as it relates to the Release Agreement.




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         ii.    The Release Agreement is Intended to be a “Once and For All” Settlement.

       While the Release Agreement does not specifically contain express non-reliance language,

the Release Agreement does make it clear that it is intended to be a “once and for all” settlement

that did not carve out any future claims. The Release Agreement states:

               “Whereas without admitting any liability on the part of any Party, and in
                order to resolve their claims against each other….” (App. 0049).

               “[i]t being agreed and understood that all obligations of the Driver and VBF
                USA under the Employment Agreement (payment or otherwise), the Stock
                Option Agreement and the Stock Option Grant Notice are terminated in
                their entirety.” (App. 0049).

               “Driver and Driver Co., on their own behalf and on behalf of their respective
                equityholders … hereby irrevocably and unconditionally release, acquit and
                forever discharge VBF USA and VBF Canada … from any and all charges,
                complaints, claims, liabilities, obligations, promises, agreements,
                controversies, damages, actions, causes of action, suits, rights, demands,
                costs, losses, debts, and expenses … of any nature whatsoever, known or
                unknown … which the Driver Releasers now have own, hold, or which
                the Driver Releasers at any time heretofore had, owned, or held against
                each of the VF Releasees.” (App. 0052).

               “VBF USA and VBF Canada … hereby irrevocably and unconditionally
                release, acquit and forever discharge the Driver Releasers from any and all
                charges, complaints, claims, liabilities, obligations, promises, agreements,
                controversies, damages, actions, causes of action, suits, rights, demands,
                costs, losses, debts and expenses (including attorneys’ fees and costs
                actually incurred), of any nature whatsoever, known or known … which
                VBF Releasees now have, own, hold or to which the VBF Releasees at
                anytime heretofore had, owned, or held against each of the Driver Releasers,
                including without limitation, the Egregious Clause Claims.” (App. 0052).

This Release Agreement could not be clearer that the parties intended the Release Agreement to

be a “once and for all” settlement of all claims related to Driver’s employment. As the Texas

Supreme Court stated in Forest Oil Corp., the fact that an agreement is “once and for all”

settlement is an additional factor for rejection of fraud-based claims. See Forest Oil Corp., 268

S.W.3d at 58.




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        Finally, Plaintiff cites no authority concluding that a disclaimer of reliance is not

enforceable by a fiduciary against a party to whom the duty was owed. See Tex. Std. Oil & Gas,

L.P. v. Frankel Offshore Energy, Inc., 394 S.W.3d 753, 774–76 (Tex. App.— Houston [14th Dist.]

2012, no pet.) (holding that the supreme court has not expressly held that fiduciary relationship

bars disclaimer of reliance).

        After considering all six factors under Leibovitz, and Forest Oil Corp., the Court should

conclude that Plaintiff and Driver disclaimed the element of reliance necessary to bring fraudulent

concealment, fraudulent inducement, or by fraud by nondisclosure affirmative defenses and that

the Release Agreement bars all of Plaintiff’s claims against Driver.

D.      Plaintiff Should Not be Given a Fourth Chance to Plead Additional Facts Regarding
        the Non-Existent Fraud it Seeks to Establish.

        Plaintiff — knowing its Second Amended Complaint still fails to state any claim for fraud

that would void the Release Agreement — requests that “[a]s to the [Second Amended Complaint],

if the Court finds that pleading is still deficient, Plaintiff requests leave to file a further motion for

leave and proposed amended complaint to address the Court’s ruling.” [Dkt. No. 103, p. 24].

Plaintiff’s Original Complaint was filed on July 31, 2018, nearly 11 months prior to this filing.

[Dkt. No. 1]. Plaintiff has already amended once and sought leave to amend yet again in the year

following its Original Complaint. As discussed above, the First and Second Amended Complaints

are vague, conclusory, and do not plead sufficient facts to support a claim that the Release

Agreement was procured by fraud. This is true even after Plaintiff received coaching from the

Iowa Northern District Court’s Chief Judge’s Order regarding the multiple short falls in Plaintiff’s

pleadings. [Dkt. No. 50]. If Plaintiff failed to plead facts to support its fraud claim in its first three

complaints and after conducting ample discovery, it should not be given another chance to harass

Driver with additional false, meritless, and trumped up allegations. Moreover, giving Plaintiff



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another opportunity will prejudice Driver because Driver will be forced to incur additional

attorneys’ fees and costs related to filing another motion to dismiss based on the valid and

enforceable Release Agreement. This is bolstered by the fact that Plaintiff has already harassed

Driver into incurring the cost of filing two motions to dismiss and responding to an unwarranted

Motion for Leave. Accordingly, Driver’s Rule 12(b)(6) should be granted.

                                        CONCLUSION

       For the foregoing reasons, Plaintiff’s claims against Driver should be dismissed for failure

to state a claim in its inadequate pleadings and because all claims brought against Driver in the

Amended Complaint were released in the Release Agreement.

                                             Respectfully submitted,

                                             By:    /s/ Heath Cheek
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                                             ATTORNEYS FOR DEFENDANT
                                             KEITH DRIVER


                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
was served upon counsel of record for all parties via ECF Service.

       DATED this 14th day of June, 2019.

                                                    /s/ Heath Cheek
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